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  The relief described hereinbelow is SO ORDERED.



  Signed May 29, 2024.

                                                    __________________________________
                                                         CHRISTOPHER G. BRADLEY
                                                    UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________




                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

  IN RE:                                      §
  WELLS SOLAR & ELECTRICAL                    §   CASE NO. 24-10193-cgb
  SERVICES LLC1                               §
         DEBTOR                               §    (Chapter 11; Subchapter V)


            ORDER SETTING HEARING ON CONFIRMATION
      OF PLAN AND RELATED DEADLINES, WITH NOTICE THEREOF

        On May 28, 2024, the above referenced Debtor filed a Plan of Reorganization
  (“Plan”) in this bankruptcy case under Subchapter V of the Bankruptcy Code [ECF
  No. 77]. The Court finds that, pursuant to 11 U.S.C. § 1191 and Bankruptcy Rule
  3017.2, the following Order should be entered.

        IT IS HEREBY ORDERED AND NOTICE IS HEREBY GIVEN THAT:

         1.    July 18, 2024, at 11:00 a.m. (CT), at the U.S. Bankruptcy Court,
  Courtroom #2, 903 San Jacinto Blvd, Austin, Texas, is fixed as the time and place
  of the hearing on confirmation of the Plan and any objections thereto.
  1
    The mailing address of the Debtor is 3805 Bee Creek Road, Spicewood, TX 78669. The EIN of
  the Debtor is XX-XXXXXXX.
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         2.     July 10, 2024 at 5:00 p.m. (CT) is fixed as the last day for holders of
  claims and interests to accept or reject the Plan by submitting a ballot. Such ballots
  shall be sent to counsel for the Debtor at the address set forth in the Plan. Ballots
  shall not be filed with the Court.

        3.    July 10, 2024 at 5:00 p.m. (CT) is also fixed, pursuant to Bankruptcy
  Rule 3020(b)(1), as the last day for filing and serving written objections to
  confirmation of the Plan. Any objections to the Plan shall be accompanied by a
  memorandum of legal authorities supporting such objection.

         4.     July 10, 2024 at 5:00 p.m. (CT) is also fixed as (a) the last day for filing
  and serving any serving any notice of a § 1111(b) election under Interim Bankruptcy
  Rule 3014; and (b) the record date by which an equity security holder or creditor
  whose claim is based on a security must be the holder of record of the security to be
  eligible to accept or reject the Plan under Interim Bankruptcy Rule 3017.2.

         5.    By July 12, 2024, counsel for the Debtor shall file with the Court (a) a
  ballot summary in the form required by Local Bankruptcy Rule 3018(b) with a copy
  of the ballots; (b) a memorandum of legal authorities addressing any unresolved
  objections filed to the Plan; and (c) under a notice coversheet, a proposed order
  confirming the Plan.

        6.     By June 4, 2024, counsel for the Debtor shall transmit by first class
  mail, a copy of the Plan, this Order or a notice of its provisions, and a ballot
  conforming with Official Form 314, to all creditors, equity security holders, the
  Trustee, the Debtor, and all other parties in interest. Counsel for the Debtor shall
  promptly file a Certificate of Service with the Court reflecting such mailing.

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